Dear Secretary Edmondson
The Attorney General has received your request for an opinion wherein you ask, in effect, the following question:
"Are the Secretary of State and Assistant Secretary of State covered bythe bond requirements of 74 O.S. 85.31 (1974) and, if so, for what amountof bond penalty?
The Secretary of State and the Assistant Secretary of State are required by 74 O.S. 661 (1971) to execute a bond in favor of the State in the penal sum of $25,000 and $15,000 respectively.
Under a more recently enacted statute, 74 O.S. 85.31 (1974) authority to purchase bonds and sureties for State officers, boards and commissions was transferred to the Central Purchasing Division of the State Board of Public Affairs.
Title 74 O.S. 85.29 (1974) sets forth a schedule of the amounts of bonds required from various State officials, boards and agencies. The Secretary of State is not specifically mentioned under the statutory schedule. However, the statute contains a general provision stating "that all other State departments, agencies, institutions, commissions, authorities and other bodies of State governments" are required to be bonded in penal amounts in the amount of $10,000. Thus, there is a conflict between the $25,000 and $15,000 requirements under 74 O.S. 661 (1971) and the general provision under 74 O.S. 85.29 (1974) requiring a $10,000 bond.
The $25,000 and $15,000 requirements contained within 74 O.S. 661 (1971) shall remain in effect because they are contained within a specific statute while the $10,000 bond requirement is set forth in a general provision of statute. A general act should not be construed to repeal a prior specific act unless there is express reference to the prior legislation. Fullerton v. State ex rel. Commissioners of Land Office, Okla. 282 P. 674 (1929).
In the instant situation, there is no express reference to 74 O.S. 661 (1971) which gives rise to a conclusion that the legislature meant to repeal the prior statute. The fact that the legislature specifically listed some State officers under 74 O.S. 85.29 (1971) but did not mention specifically the Secretary of State or Assistant Secretary of State makes it clear that it did not intend to reduce the penal amount of the bonds required of the Secretary of State and the Assistant Secretary of State.
It is, therefore, the opinion of the Attorney General that the bondrequirement of the Secretary of State and the Assistant Secretary ofState is governed under the provisions of 74 O.S. 661 (1971) and thatsuch officers are required to execute their bonds to the State ofOklahoma in the penal amount of $25,000 and $15,000 respectively.
JAN ERIC CARTWRIGHT, ATTORNEY GENERAL OF OKLAHOMA
KAY HARLEY JACOBS, ASSISTANT ATTORNEY GENERAL